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                           UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF TEXAS
                               SAN ANTONIO DIVISION


       I, Tom Fallon, being first duly sworn, do depose and state the following:

        I am a Special Agent with the Department of Homeland Security, Homeland Security
Investigations (HSI), and I have been so employed since April 2007. I am currently assigned to
the Homeland Security Investigations (HSI) Special Agent in Charge (SAC) in San Antonio,
Texas. I am a graduate of the Federal Law Enforcement Training Center and as a result of my
training and experience as a Homeland Security Investigations Agent, my duties include (but are
not limited to) the investigation and enforcement of Titles 8, 18, 19, 21, and 33 of the United
States Code.

        Prior to July 31, 2024, your affiant received information that My’lik KERLEY wanted to
buy a firearm. On July 31, 2024, KERLEY arranged with an HSI Undercover Agent to sell a
pound of methamphetamine at a discount in exchange for borrowing a fully automatic firearm to
conduct a shooting in San Antonio, Texas. KERLEY met with an HSI Undercover Agent in San
Antonio, Texas regarding the purchase of the fully automatic rifle. During this meeting,
KERLEY inspected the fully automatic rifle provided by HSI Undercover Agents and agreed to
bring back one pound of methamphetamine to borrow the rifle. KERLEY told the HSI
Undercover Agent he would return with the “package” (one pound of methamphetamine).

         KERLEY departed the meeting with the HSI Undercover Agent and coordinated a
purchase of methamphetamine at a convenience store parking lot in San Antonio, Texas. During
the methamphetamine purchase, law enforcement personnel observed KERLEY purchase one
pound of methamphetamine from an individual for $1,600. Based upon this information, law
enforcement personnel pulled into the parking lot of the convenience store in their government
issued vehicles. At this time, KERLEY fled from the vehicle he was in, and ran to a
neighborhood behind the convenience store. KERLEY forced his way into a residence in an
attempt to evade from law enforcement, however, the elderly female occupant notified law
enforcement of KERLEY’s presence in her home and KERLEY was taken into
custody. KERLEY was then transported to the HSI San Antonio office for further
investigation. Law enforcement personnel searched the vehicle KERLEY was in and seized one
pound (450 grams) of methamphetamine inside the front passenger seat where KERLEY was
sitting.

        At the HSI office, affiant advised KERLEY of his Miranda rights in the English
language. KERLEY acknowledge his Miranda rights and voluntarily waived them for purpose
of interview. During the interview, KERLEY stated that he contacted a phone number to
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